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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF LOUISIANA

DR. DOROTHY NAIRNE, JARRETT
LOFTON, REV. CLEE EARNEST LOWE,
DR. ALICE WASHINGTON, STEVEN
HARRIS, ALEXIS CALHOUN, BLACK
VOTERS MATTER CAPACITY
BUILDING INSTITUTE, and THE
LOUISIANA STATE CONFERENCE OF
THE NAACP,                                      Civil Action No. 3:22-cv-00178
                                                SDD-SDJ
                           Plaintiffs,

v.

R. KYLE ARDOIN, in his official capacity
as Secretary of State of Louisiana,

                           Defendant.


                     MEMORANDUM IN SUPPORT OF
                  PLAINTIFFS’ MOTION TO VACATE STAY

      Plaintiffs, Dr. Dorothy Nairne, Jarrett Lofton, Rev. Clee Earnest Lowe, Dr.

Alice Washington, Steven Harris, Alexis Calhoun, Black Voters Matter Capacity

Building Institute, and the Louisiana State Conference of the NAACP, by and

through undersigned counsel, move this court for an order vacating the stay of

proceedings granted on August 30, 2022. For the reasons explained further in

Plaintiffs’ simultaneously-filed motion for an expedited briefing schedule, Plaintiffs

request that the Court resolve this motion on an expedited basis.

                                  BACKGROUND

      Plaintiffs filed the instant action on March 14, 2022, alleging that the 2022

redistricting plans for the Louisiana House of Representatives and Senate unlawfully



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diluted their votes in violation of Section 2 of the Voting Rights Act of 1965, 52 U.S.C.

§ 10301. On August 30, 2022, this Court stayed all proceedings in this case, pending

the Supreme Court’s resolution of Allen v. Milligan (formerly “Merrill v. Milligan”).

See Ruling on Stay Motion, ECF No. 79. This Court concluded that this proceeding’s

outcome was intertwined with Allen’s, and that the case could only proceed once the

Allen case was decided. Id. at 4.

        On June 8, 2023, the Supreme Court published its decision in Allen v. Milligan,

No. 21-1086, 599 U.S. ____ (2023), affirming the preliminary injunction granted by

the U.S. District Court for the Northern District of Alabama. No further grounds exist

to prohibit this case from moving forward and being litigated. Accordingly, this Court

should vacate the stay.

                                        ARGUMENT

        The decision to stay a case “lies within the sound discretion of the District

Court.” Francois v. City of Gretna, No. CIV.A. 13-2640, 2014 WL 1118091, at *1 (E.D.

La. Mar. 20, 2014) (citing Campbell v. Eastland, 307 F.2d 478, 487 (5th Cir. 1962).

Discretion “calls for the exercise of judgment, which must weigh competing interests

and maintain an even balance.” Landis v. N. Am. Co., 299 U.S. 248, 254–55 (1936).

However, Landis makes a stay improper if it is not “so framed in its inception that

its force will be spent within reasonable limits…. When those limits have been

reached, the fetters should fall off.” In re Papst Licensing GmbH, No. CIV.A. 99-MD-

1298, 2006 WL 4017753, at *2 (E.D. La. Oct. 23, 2006) (citing Landis, 299 U.S. at

257).




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      No further grounds remain to allow the stay to persist. Here, exercising its

discretion, this Court stayed the present case stating that “once [Allen] is decided,

this important case can be litigated.” Ruling on Stay Motion at 4, ECF No. 79. Thus,

this Court set the stay’s end point as the issuance of the Allen decision, because Allen

would guide this Court’s reasoning in resolving this matter. Any prolongation of the

stay is not necessary.

      On balance, any furtherance of the stay does not advance judicial efficiency

and risks damaging the fundamental voting rights of Louisianans. The rationale for

the stay no longer exists, and this case should move forward.


Date: June 9, 2023                             Respectfully submitted,

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